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         January 31, 2020


         VIA E-FILING
         Honorable Esther Salas
         Martin Luther King Building & U.S. Courthouse
         50 Walnut Street Room 4015
         Newark, NJ 07101

         Re:       Fuller, et al. v. INSYS Therapeutics, Inc., et al.
                   Docket No.: 2:17-cv-07877-ES-SCM

         Dear Judge Salas:

                 As Your Honor is aware, this office represents Rochester Drug Cooperative, Inc.
         (“RDC”) in the above captioned matter. In that regard, we write in response to Plaintiffs’ request
         (document 231) to be permitted to submit supplemental briefing in opposition to RDC’s pending
         motion to dismiss. RDC objects to Plaintiffs’ request and contends that supplemental briefing is
         unnecessary, and frankly unwarranted as Plaintiffs’ request is predicated solely on Plaintiffs’
         assertion that they’ve discovered new information about RDC from their depositions of Michael
         Babich and John Kapoor. They no give indication as to what this information is and for that
         reason alone, their request is baseless and therefore should be denied.

                 The main thrust of RDC’s motion is actually quite simple and not impacted by the
         testimony of either party. 1 First, Plaintiffs commenced their action against RDC well after the
         applicable statute of limitations had expired, despite the fact that Plaintiffs should have (and very
         easily could have) ascertained RDC’s identity (Plaintiffs had actively litigated against defendants
         Insys and Lindencare for years), or at the very least, pled the existence of an as of yet
         unidentified wholesale distributor such as RDC in their series of amended pleadings. Neither
         Babich’s nor Kapoor’s testimony addresses why (or why not) Plaintiffs’ complaint is violative of
         New Jersey’s personal injury and wrongful death statutes of limitations. Second, RDC has
         moved to dismiss for lack of personal jurisdiction based on the fact that while it alleged that Ms.
         Fuller may have used Subsys within the State of New Jersey, RDC and Lindencare are both out
         of state, New York entities who engaged in a New York to New York transaction, the only
         consideration relevant to a personal jurisdiction determination. Neither Babich nor Kapoor gave
         testimony regarding RDC’s domicile nor did they allege any direct involvement by RDC


         1 Mr. Kapoor asserted his fifth amendment right in response to almost every question asked and gave no testimony
         regarding or otherwise impacting RDC
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 regarding the prescription of substance to the decedent, thus, similar to the statute of limitations
 issue, neither party’s testimony should impact the Court’s legal analysis on this issue. Therefore,
 supplemental briefing is unnecessary.

         Because this case is heading towards the discovery phase, RDC respectfully requests that
 the Court address its motion before RDC is forced to engage in additional, and costly discovery,
 which it contends is unwarranted given the issues raised in its pending motion. In the event the
 Court is inclined to grant Plaintiffs’ request, RDC respectfully requests that it be given ample
 time to prepare a rebuttal to Plaintiffs’ supplemental briefing, and in further support of its motion
 to dismiss. To the extent it would assist the Court’s determination on supplemental briefing, and
 if the Court is amenable, RDC would be willing to participate in a telephonic conference with
 Plaintiffs’ counsel and Your Honor to further argue the issue of supplemental briefing.

 Respectfully Submitted,

 Hawkins Parnell & Young, LLP


 s/David E. Freed
 ______________________________
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